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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                     CASE NUMBER
SHRIMP GIRLS, INC. d/b/a FISHWIFE TINNED
SEAFOOD COMPANY,                                                       2:23-cv-06024
                                                     Plaintiff(s),
                                v.
CAROLINE GOLDFARB AND BENJAMIN GOLDFARB                                    NOTICE OF DISMISSAL PURSUANT
                                                                            TO FEDERAL RULES OF CIVIL
                                                                                PROCEDURE 41(a) or (c)
                                                   Defendant(s).

PLEASE TAKE NOTICE: (Check one)

     IV This action is dismissed by the Plaintiff(s) in its entirety. Dismissed with Prejudice.
     ❑ The Counterclaim brought by Claimant(s)                                                                             is
       dismissed by Claimant(s) in its entirety.

     ❑ The Cross-Claim brought by Claimants(s)                                                                             is
       dismissed by the Claimant(s) in its entirety.

     ❑ The Third-party Claim brought by Claimant(s)                                                                        is
       dismissed by the Claimant(s) in its entirety.

     ❑ ONLY Defendant(s)

         is/are dismissed from (check one) ❑ Complaint, ❑ Counterclaim, ❑ Cross-claim, ❑ Third-Party Claim
         brought by

    The dismissal is made pursuant to F.R.Civ.P. 41(a) or (c).




    August 11, 2023
                Date                                                      (Signatlire of Attorney/Party)




NOTE: F.R. Civ.P. 41(a): This notice may be filed at any time before service by the adverse party of an answer or of a motion for
      summary judgment, whicheverfirst occurs.

         F.R. Civ.P. 41(c): Counterclaims, cross-claims & third-party claims may be dismissed before service of a responsive
         pleading or prior to the beginning of trial.



CV-09 (03/10)          NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(a) or (c)
